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       Attorneys for Siwell, Inc.
 8     d.b.a. Capital Mortgage Services of Texas
 9
10                            UNITED STATES DISTRICT COURT
11                          CENTRAL DISTRICT OF CALIFORNIA
12                                    SOUTHERN DIVISION
13
14     KURTIS KOOIMAN,                             Case No. 8:20-cv-00565-JLS-DFM
15
                         Plaintiff,                DEFENDANT SIWELL, INC.’S
16                                                 PROPOSED FINDINGS OF FACT
17     vs.                                         AND CONCLUSIONS OF LAW

18     SIWELL, INC., d.b.a. Capital Mortgage     Court Trial:
19     Services of Texas; and DOES 1 through 50, Dates:         December 9, 2021
       inclusive,                                               and January 12, 2022
20
                                                 Time:          9:00 a.m.
21                        Defendants.            Courtroom:     10A
22
                                                   Hon. Josephine L. Staton
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 1            SiWell, Inc., d.b.a. Capital Mortgage Services of Texas (“Defendant”) hereby
 2     submits its (Proposed) Findings of Fact and Conclusions of Law.
 3                                            FINDINGS OF FACT
 4            1.      On June 26, 2014, Defendant offered Plaintiff the position of Senior Loan
 5     Officer (“First Offer”). Joint Exhibit List, Exhibit No. 1.
 6            2.      Plaintiff holds a Department of Real Estate Broker’s License.                  Trial
 7     Transcript, December 9, 2021 (“Transcript I”), p. 8, line 1-4.
 8            3.      On January 5, 2015, Defendant offered Plaintiff the position of Senior Loan
 9     Officer (“Contract”). Joint Exhibit List, Exhibit No. 1.
10            4.      The Contract provided that Plaintiff would receive compensation in the form
11     of commission in connection with loans originated by Plaintiff as follows:
12            Loan Type           Variation        Commission-Self Generated   Commission-Company Lead

13            FHA                 Standard         135 basis points            40 basis points

14            FHA                 High-Balance     135 basis points            40 basis points

15            FHA                 Streamline       135 basis points            40 basis points

16            Conventional        Standard         135 basis points            40 basis points

17            Conventional        High-Balance     100 basis points            40 basis points

18            Non-Conventional    Jumbo Select     40 basis points             40 basis points

19            Non-Conventional    Jumbo Select/Alt 40 basis points             40 basis points

20            Non-Conventional    Jumbo-Choice     40 basis points             40 basis points

21     Joint Exhibit List, Exhibit No. 1.
22            5.      On February 11, 2020, Plaintiff filed his complaint against Defendant for
23     breach of contract; failure to pay commission wages in breach of California Labor Code;
24     reimbursement of business expenses; failure to furnish accurate wage statements;
25     violations of the Unfair Competition law; quantum meruit; and promissory estoppel.
26     Docket Entry 1.
27            6.      On March 20, 2020, Defendant removed the case to this Court. Docket
28     Entry 1.


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 1            7.     On January 20, 2021, Defendant filed its Answer to Plaintiff’s Complaint.
 2     Docket Entry 33.
 3                                     CONCLUSIONS OF LAW
 4            A.     Jurisdiction and Venue
 5            8.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332(a).
 6            9.     Plaintiff is a citizen and resident of California and Defendant is a Texas
 7     corporation with its principal place of business in Texas.
 8            B.     Plaintiff’s Claim for Breach of Contract.
 9            10.    The elements of a claim for breach of contract are: (a) the existence of a
10     contract; (b) plaintiff’s performance of the contract or excuse for non-performance; and
11     (c) the defendant’s breach, and resulting damage to Plaintiff. Richman v. Hartley, 224
12     Cal.App.4th 1182, 1186 (Cal.App. 2014)
13            11.    Plaintiff contends that he is entitled to commission in the following amounts
14     pursuant to the Contract.
15            Date         Name         Commission %       Payable             Due
16            9/11/17      Hermening    2.375%             10/15/17            $3,343.34
17            10/2/17      Wilson       2.375%             10/15/17            $3,544.69
18            9/11/17      Chauhan      2.375%             10/15/17            $3,983.11
19            9/16/17      Love         2.375%             10/15/17            $5,769.90
20            9/11/17      Robertson    2.375%             10/15/17            $4,293.26
21     Joint Exhibit List, Exhibit No. 2-6.
22            12.    Pursuant to the Contract, Defendant agreed to pay Plaintiff a commission of
23     between 40 basis points (.040%) and 135 basis points (1.35%) of each loan originated.
24     1.35% was the maximum commission percentage that Plaintiff could be entitled to
25     pursuant to the Contract. Joint Exhibit List, Exhibit No. 1.
26            13.    Plaintiff’s claim that he is entitled to 2.375% of the Hermening, Wilson,
27     Chauhan, Love, and Robertson loans is contrary to the Contract because the Contract
28     provides for commission in the amount of between 35 basis points (.035%) and 135 basis


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 1     points (1.35%) of each loan originated and Plaintiff claims that he is entitled to a
 2     commission of 237.5 basis points (2.375%) of the loans in question. Joint Exhibit List,
 3     Exhibit No. 2-6.
 4            14.   Plaintiff testified that his contract with Defendant provided that he would
 5     receive commission between 40 and 135 basis points for each loan that he closed: 40
 6     basis points for refinances and 135 basis points for loans that did not involve an existing
 7     Capital Mortgage borrower. Transcript I, p. 19, lines 7-19; Trial Transcript, January 12,
 8     2022 (“Transcript II”), p. 102, lines 13-25, and p. 103, lines 1-7.
 9            15.   Plaintiff testified that the Harmening loan did not involve an existing Capital
10     Mortgage customer and that the Wilson, Love, and Robertson loans did involve Capital
11     Mortgage Customers. Transcript II, p. 103, lines 8-23.
12            16.   Plaintiff has failed to establish by a preponderance of the evidence that
13     Defendant breached the Contract when it refused to pay the 2.375% commissions that he
14     demanded because he was not entitled to the 2.375% commissions pursuant to the
15     Contract. Joint Exhibit List, Exhibit No. 1.
16            17.   Defendant is entitled to Judgment in its favor on Plaintiff’s claim for breach
17     of contract because, contrary to Plaintiff’s Complaint, the Contract did not provide for
18     commissions in the amount of 2.375%.
19            C.    Plaintiff’s Claim for Failure to Pay Wages Upon Separation.
20            18.   The elements of a claim for failure to pay wages are: (a) plaintiff performed
21     work for the defendant and (b) he defendant owes plaintiff the wages under the terms of
22     employment. California Civil Jury Instructions (CACI) 2700 Nonpayment of Wages--
23     Essential Factual Elements (Lab. Code 201, 202, 218).
24            19.   Plaintiff’s claim that he is entitled to 2.375% of the Hermening, Wilson,
25     Chauhan, Love, and Robertson loans is contrary to the Contract because the Contract
26     provides for commission in the amount of between 40 basis points (.040%) and 135 basis
27     points (1.35%) of each loan originated and Plaintiff claims that he is entitled to a
28     commission of 237.5 basis points (2.375%) of the loans in question. Joint Exhibit List,


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 1     Exhibit No. 1.
 2            20.   Plaintiff has failed to establish that Defendant failed to pay wages upon
 3     separation when it refused to pay the 2.375% commissions that he demanded because he
 4     was not entitled to the 2.375% commissions pursuant to the Contract. Joint Exhibit List,
 5     Exhibit No. 1.
 6            21.   Defendant is entitled to Judgment in its favor on Plaintiff’s claim for failure
 7     to pay wages upon separation.
 8            D.    Plaintiff’s Claim for Reimbursement of Business Expenses.
 9            22.   The elements of a claim for reimbursement of business expenses are Plaintiff
10     incurred necessary expenditures, the expenditures were incurred while discharging job
11     duties, the defendant knew or had reason to know of the expenditures, and the defendant
12     did not exercise due diligence towards reimbursement. Cochran v Schwan’s Home
13     Services, Inc., 228 Cal. App.4th 1137 (Cal. App 2014).
14            23.   The statute of limitations under California Labor Code § 2802 is also three
15     years because unreimbursed business expenses are not considered a penalty, but rather
16     are considered restitution. See Ordonez v. Radio Shack, No. CV 10–7060 CAS (MANx),
17     2011 WL 499279, at *6 (C.D.Cal. Feb.7, 2011); Cal.Code Civ. Proc. § 338, subd. (a);
18     Brandon v. Nat'l R.R. Passenger Corp. Amtrak, No. CV 12-5796 PSG VBKX, 2013 WL
19     800265, at *2 (C.D. Cal. Mar. 1, 2013).
20            24.   Plaintiff contends that Straightline Properties LLC, incurred $67,435.32 in
21     reasonable and necessary work-related expenses between June 17, 2016 and February 13,
22     2018. Joint Exhibit List, Exhibit No. 24-29.
23            25.   Plaintiff’s office of record was Capital Mortgage’s Lubbock, Texas office.
24     Transcript II, p. 105, line 20-25, p. 106, line 1-3.
25            26.   Royce Lewis testified at his deposition on February 26, 2021 that Plaintiff
26     was not authorized to open a branch of Capital Mortgage. Transcript II, p. 120, line 20-
27     25, p. 121, line 1-3, p. 123, line 3-11, p. 125, line 9-15.
28            27.   Plaintiff has failed to establish that he is entitled to reimbursement of the


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 1     expenses allegedly incurred by Plaintiff because he has offered no evidence that the
 2     alleged expenses were incurred at the direct instruction of Defendant, that Defendant
 3     authorized Plaintiff to incur such expenses on its behalf, or that Defendant otherwise
 4     agreed to reimburse Plaintiff for such expenses.
 5            28.   Plaintiff’s Complaint was filed on February 11, 2020; therefore, Plaintiff’s
 6     claim for reimbursement of any business expenses incurred prior to February 11, 2017 is
 7     also time-barred.
 8            29.   Defendant is entitled to Judgment in its favor on Plaintiff’s claim for
 9     reimbursement of business expenses.
10            E.    Plaintiff’s Claim for Failure to Furnish Accurate Wage Statements.
11            30.   The elements of a claim for failure to furnish accurate wage statements are
12     an employer must furnish an accurate itemized wage statement in writing showing nine
13     different items pursuant to Labor Code section 226(a), an employee suffers an injury as
14     the result of employers knowing and intentional failure to comply with Labor Code
15     section 226(a), and resulting injury. Willner v. Manpower Inc. 35 F.Supp.3d 1116, 1128
16     (N.D. Cal. 2014).
17            31.   Plaintiff’s claim that he is entitled to 2.375% of the Hermening, Wilson,
18     Chauhan, Love, and Robertson loans is contrary to the Contract because the Contract
19     provides for commission in the amount of between 40 basis points (.040%) and 135 basis
20     points (1.35%) of each loan originated and Plaintiff claims that he is entitled to a
21     commission of 237.5 basis points (2.375%) of the loans in question. Joint Exhibit List,
22     Exhibit No. 1.
23            32.   Plaintiff has failed to establish that Defendant failed to furnish accurate
24     wage statements when it refused to pay the 2.375% commissions that he demanded
25     because he was not entitled to the 2.375% commissions pursuant to the Contract. Joint
26     Exhibit List, Exhibit No. 1.
27            33.   Defendant is entitled to Judgment in its favor on Plaintiff’s claim for failure
28     to furnish accurate wage statements.


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 1            F.       Plaintiff’s Claim for Violations of the Unfair Competition Law.
 2            34.      The commission of an unlawful, unfair, or fraudulent business act or
 3     practice. Cal Bus. Prof. Code section 17200; Cel-Tech Communications, Inc. v. Los
 4     Angeles Cellular Tel. Co, 20 Cal.4th 163, 180 (1999). Violation of almost any federal,
 5     state, or local law may serve as the basis for a UCL claim. Saunders v. Superior Court,
 6     27 Cal.App.4th 832, 838-839 (1994). A business practice may be unfair or unlawful in
 7     violation of the UCL even if the practice does not violate any law. Olszewski v. Scripps
 8     Health, 30 Cal.4th 798, 827 (2003). To assert standing under the UCL, plaintiffs must
 9     allege that they “suffered an injury in fact” and “lost money or property as a result of the
10     unfair competition.” Cal. Bus. & Prof. Code section 17204.
11            35.      Plaintiff has failed to establish that Defendant violated Cal Bus. Prof. Code
12     section 17200 because he has failed to establish that Defendant engaged in any unlawful,
13     unfair, or fraudulent business act or practice of that Defendant violated any federal state,
14     or local law.
15            36.      Defendant is entitled to Judgment in its favor on Plaintiff’s claim for
16     violation of Cal Bus. Prof. Code section 17200.
17            G.       Plaintiff’s Claim for Quantum Meruit.
18            37.      The elements of a claim for quantum meruit are plaintiff performed services
19     for defendant, the services reasonable value, the services were rendered, and the services
20     were unpaid. DPR Construction v Shire Regenerative Medicine, Inc. (S.D. Cal. 2016)
21     F.Supp.3d 1118, 1131.
22            38.      The statute of limitations for quantum meruit claims in California is two
23     years. Maglica v. Maglica (1998) 66 Cal.App.4th 442, 452, 78 Cal.Rptr.2d 101; Newport
24     Harbor Ventures, LLC v. Morris Cerullo World Evangelism, 6 Cal. App. 5th 1207, 1221,
25     212 Cal. Rptr. 3d 216, 227 (2016), aff'd, 4 Cal. 5th 637, 413 P.3d 650 (2018).
26            39.      The statute of limitations on a quantum meruit claim begins to run when the
27     final services have been performed. E.O.C. Ord, Inc. v. Kovakovich, 200 Cal. App. 3d
28     1194, 1203 (1988).


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 1            40.   Plaintiff’s claim that he is entitled to 2.375% of the Hermening, Wilson,
 2     Chauhan, Love, and Robertson loans is contrary to the Contract because the Contract
 3     provides for commission in the amount of between 40 basis points (.040%) and 135 basis
 4     points (1.35%) of each loan originated and Plaintiff claims that he is entitled to a
 5     commission of 237.5 basis points (2.375%) of the loans in question. Joint Exhibit List,
 6     Exhibit No. 1.
 7            41.   Plaintiff has failed to establish that he is entitled to $20,934.30 because the
 8     Contract, which is the contract that governed Plaintiff’s compensation by Defendant
 9     specifically provided that he was entitled to between 40 basis points (.040%) and 135
10     basis points (1.35%) of each loan originated and his demand for payment was for 2.375%
11     of the loans allegedly originated. Joint Exhibit List, Exhibit No. 1.
12            42.   The alleged commission owed to Plaintiff was payable on October 15, 2017.
13     However, Plaintiff’s complaint was not filed until February 22, 2020, more than two
14     years thereafter. Joint Exhibit List, Exhibit No. 2-6. Therefore, Plaintiff’s claim for
15     quantum meruit is also time-barred.
16            43.   Defendant is entitled to Judgment in its favor on Plaintiff’s claim for
17     quantum meruit.
18            H.    Plaintiff’s Claim for Plaintiff’s Claim for Promissory Estoppel.
19            35.   The elements of a claim for promissory estoppel are Defendant makes
20     promise to Plaintiff, Plaintiff is induced by Defendant’s promise to a particular action or
21     inaction, Defendant should reasonably expect that the promise will induce the particular
22     action or inaction, and Injustice will result if the promise is not enforced. Sheppard v.
23     Morgan Keegan & Co., 218 Cal.App.3d 61, 67 (Cal.App. 1990).
24            36.   “[P]romissory estoppel applies only in the absence of an express agreement
25     between the parties. If instead ‘the promisee's performance was requested at the time the
26     promisor made his promise and that performance was bargained for, the doctrine is
27     inapplicable.’ ” Fontenot v. Wells Fargo Bank, N.A., 198 Cal. App. 4th 256, 275, 129
28     Cal. Rptr. 3d 467 (2011)).


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 1            37.   The statute of limitations for promissory estoppel based on oral promises is
 2     two years. See Newport Harbor Ventures, LLC v. Morris Cerullo World Evangelism, 6
 3     Cal. App. 5th 1207, 1224 (2016).
 4            38.   For Promissory Estoppel claims, the statute of limitations begins to run on
 5     the date for which the service was rendered. Corato v. Corato's Estate, 201 Cal. 155, 159,
 6     255 P. 825 (1927).
 7            39.   The parol evidence rule is codified in Civil Code section 1625 and Code of
 8     Civil Procedure section 1856. Marani v. Jackson (1986) 183 Cal.App.3d 695, 701, 228
 9     Cal.Rptr. 518 (1986). It “generally prohibits the introduction of any extrinsic evidence,
10     whether oral or written, to vary, alter or add to the terms of an integrated written
11     instrument.” Alling v. Universal Manufacturing Corp., 5 Cal.App.4th 1412, 1433, 7
12     Cal.Rptr.2d 718 (1992).
13            40.   Plaintiff’s claim that he is entitled to 2.375% of the Hermening, Wilson,
14     Chauhan, Love, and Robertson loans is contrary to the Contract because the Contract
15     provides for commission in the amount of between 40 basis points (.040%) and 135 basis
16     points (1.35%) of each loan originated and Plaintiff claims that he is entitled to a
17     commission of 237.5 basis points (2.375%) of the loans in question. Joint Exhibit List,
18     Exhibit No. 1.
19            41.   Plaintiff has offered no evidence of Defendant’s promise to pay him
20     commission in an amount higher than between 40 basis points (.040%) and 135 basis
21     points (1.35%) provided for in the Contract. Moreover, even if he had, such evidence
22     would be barred by the parol evidence rule.
23            42.   Plaintiff has failed to establish that he is entitled to $20,934.30 because the
24     Contract, which is the contract that governed Plaintiff’s compensation by Defendant,
25     specifically provided that he was entitled to a maximum of 1.35% of each loan originated
26     and his demand for payment was for 2.375% of the loans allegedly originated.
27            43.   Plaintiff contends that he incurred $67,435.32 in reasonable and necessary
28     work-related expenses.


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 1          44.   Plaintiff has failed to establish that he is entitled to reimbursement of the
 2   expenses allegedly incurred by Plaintiff because he has offered no evidence that the
 3   alleged expenses incurred were incurred at the direct instruction of Defendant, that
 4   Defendant authorized Plaintiff to incur such expenses on its behalf, or that Defendant
 5   otherwise agreed to reimburse Plaintiff for such expenses.
 6          45.   The alleged commission owed to Plaintiff was payable on October 15, 2017.
 7   However, Plaintiff’s complaint was not filed until February 22, 2020, more than two
 8   years thereafter. Joint Exhibit List, Exhibit No. 2-6. Therefore, Plaintiff’s claim for
 9   promissory estoppel with regard to the alleged commissions earned is also time-barred.
10          46.   Plaintiff’s claim for promissory estoppel in connection with the alleged
11   commission owed also fails on the basis that there is an express agreement between
12   Plaintiff and Defendant in the form of the Contract. Joint Exhibit List, Exhibit No. 1.
13          47.   Plaintiff contends that Straightline Properties LLC, incurred $67,435.32 in
14   reasonable and necessary work-related expenses between June 17, 2016 and February 13,
15   2018. Joint Exhibit List, Exhibit No. 24-29. Plaintiff’s complaint was not filed until
16   February 22, 2020, more than two years thereafter. Joint Exhibit List, Exhibit No. 2-6.
17   Therefore, Plaintiff’s claim for promissory estoppel with regard to the alleged business
18   expenses incurred is also time-barred.
19          48.   Defendant is entitled to Judgment in its favor on Plaintiff’s claim for
20   promissory estoppel.
21          WHEREFORE, Judgement on all claims shall enter in favor of Defendant and
22   Plaintiff shall take nothing by reason of his Complaint.
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24
25   DATED: March ____, 2022                  ______________________________
                                              HON. JOSEPHINE L. STATON
26                                            UNITED STATES DISTRICT COURT JUDGE
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 1   Submitted By:
 2   DATED: March 4, 2022             Respectfully Submitted,
 3
                                      MALCOLM ♦ CISNEROS,
 4                                    A Law Corporation
 5
                                      By: /s/ Nathan F. Smith
 6
                                          NATHAN F. SMITH
 7                                        Attorneys for Siwell, Inc. d.b.a. Capital
 8                                        Mortgage Services of Texas

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 1                                   PROOF OF SERVICE
 2
 3         I am employed in the County of Orange, State of California. I am over the age of
     18 and not a party to the within action. My business address is 2112 Business Center
 4   Drive, Irvine, California, 92612.
 5
           The foregoing document described as DEFENDANT SIWELL, INC.’S
 6
     FINDINGS OF FACT AND CONCLUSIONS OF LAW was served via electronic
 7   mail on the interested parties in this action on March 4, 2022, as indicated below:
 8
            Frank Cronin
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            William G Malcolm
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16
17          Douglas A. Plazak
            dplazak@rhlaw.com
18
19          Nathan Frederick Jones Smith
20          nathan@mclaw.org,cvalenzuela@mclaw.org
21          I declare under penalty of perjury under the laws of the United States of America
22   that the foregoing is true and correct. Executed on March 4, 2022, at Irvine, California.
23
24                                          /s/ Christina Valenzuela
25
                                            Christina Valenzuela

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27
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